            Case 3:14-cr-00175-WHA Document 1188 Filed 05/13/20 Page 1 of 2




 1   JENNER & BLOCK LLP
        Reid J. Schar (pro hac vice)
 2      RSchar@jenner.com
        353 N. Clark Street
 3
        Chicago, IL 60654-3456
 4   Telephone: +1 312 222 9350
     Facsimile: +1 312 527 0484
 5
     CLARENCE DYER & COHEN LLP
 6      Kate Dyer (Bar No. 171891)
        kdyer@clarencedyer.com
 7      899 Ellis Street
 8      San Francisco, CA 94109-7807
     Telephone: +1 415 749 1800
 9   Facsimile: +1 415 749 1694

10   CRAVATH, SWAINE & MOORE LLP
        Kevin J. Orsini (pro hac vice)
11      korsini@cravath.com
12      825 Eighth Avenue
        New York, NY 10019
13   Telephone: +1 212 474 1000
     Facsimile: +1 212 474 3700
14
     Attorneys for Defendant PACIFIC GAS AND ELECTRIC
15   COMPANY
16
                               UNITED STATES DISTRICT COURT
17                            NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
18
19
     UNITED STATES OF AMERICA,                            Case No. 14-CR-00175-WHA
20
                                  Plaintiff,              NOTICE OF APPEAL
21                                                        Judge: Hon. William Alsup
22          v.
23
     PACIFIC GAS AND ELECTRIC COMPANY,
24
                                  Defendant.
25

26

27

28

                                           NOTICE OF APPEAL
                                        Case No. 14-CR-00175-WHA
             Case 3:14-cr-00175-WHA Document 1188 Filed 05/13/20 Page 2 of 2




 1                                         NOTICE OF APPEAL
 2                  PLEASE TAKE NOTICE that Pacific Gas and Electric Company, defendant in

 3   the above-named case, hereby appeals to the United States Court of Appeals for the Ninth Circuit

 4   from the order modifying probation conditions entered in this action on April 29, 2020, and from

 5   all associated orders and opinions.

 6

 7

 8

 9    Dated: May 13, 2020                                       Respectfully Submitted,

10                                                              JENNER & BLOCK LLP
11                                                           By:    /s/ Reid J. Schar
12                                                                 Reid J. Schar (pro hac vice)

13                                                              CRAVATH, SWAINE & MOORE LLP

14                                                           By:    /s/ Kevin J. Orsini
                                                                   Kevin J. Orsini (pro hac vice)
15

16                                                              CLARENCE DYER & COHEN LLP

17                                                           By:    /s/ Kate Dyer
                                                                   Kate Dyer (Bar No. 171891)
18
19                                                           Attorneys for Defendant PACIFIC GAS
20                                                           AND ELECTRIC COMPANY

21

22

23

24

25

26

27

28

                                                        1
                                              NOTICE OF APPEAL
                                           Case No. 14-CR-00175-WHA
